 

Case 2:17-cv-00822-DLR Document 356 Filed 11/10/21 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

 

CIVIL EXHIBIT LIST
_] Preliminary Injunction/TRO L] Non-Jury Trial Jury Trial
Talonya Adams vs. Arizona Senate CV-17-00822-PHX-DLR
L] PLAINTIFF DEFENDANT

 

211 Arizona State Senate Employee Listing 2012 (ADAM0405-

 

 

 

 

 

 

ADAM0408)

212 12-14-12 email between Talonya Adams and Leah Landrum-Taylor
re: Policy Analyst position accepted (ADAM0085)

216 Arizona State Senate Employee Listing 2013 (ADAM0409-0412)

219 Arizona State Senate Employee Listing 2014 (ADAM0413-
ADAM0416)

227 it / Talonya Adams’ Leave Request March 2-6, 2015 dated 11-18-14

(A 2 | (ADAM0420)

232 oo! 1-23-15 email between Talonya Adams and Jeff Winkler re: Friday
Staff Meetings —Adams Availability (ADAM0084)

234 2-1-15 email between Talonya Adams and Jeff Winkler re: meet

requested to discuss workload/hours/pay (AZSEN0327)

 

 

 

 

 

 

 

235 \\ | x | af 2-3-15 email between Talonya Adams and Katie Hobbs/Jeff Winkler
Ll re: Availability to set meeting (AZSEN0390-AZSEN0391)

236 Tv meT 2-5-15 email between Talonya Adams and Wendy Baldo re: meet to
\\%(71 | discuss HR Issues (AZSEN0397)

238 __ 2-13-15 email between Talonya Adams and Wendy Baldo re: protocol
\\ \% \2A_ | to request raise (AZSEN0392-AZSEN0396)

239 2-13-15 email from Talonya Adams to Leadership re: request to meet
A la|2) to discuss current status on Democratic Caucus staff (AZSEN0770-

AZSENO0771)
241 2-13-15 email between Talonya Adams and Katie Hobbs re:
inappropriate meeting requested with full leadership (ADAMO0044)

242 i) |.) 2-13-15 email from Katie Hobbs re: Adams’ request for meeting has
W\N\21 | been addressed (AZSENO772)

243 2-13-15 “Family Related Matter” between Talonya Adams and Jeff

 

 

 

 

 

|
\\|<| u Winkler, Katie Hobbs and Wendy Baldo (AZSEN0321)

 

 
 

  

 

  

244 2-13-15 email between Talonya Adams and Katie Hobbs cc

 

 

at lex \24 Leadership team (AZSEN0384-AZSEN0385)_-

245 | 2-13-15 Adams/Winkler Email cc: leadership team re: meeting and
lial FMLA protocols (AZSEN03 19-0320)

247 ) 2-18-15 email between Talonya Adams and Jeff Winkler re:
\\ \<\2 emergency medical leave inquiries (AZSEN0473-AZSEN0474)

 

 

 

248 a 2-18-15 email between Talonya Adams and Jeff Winkler re: Adams
us| LU | return (AZSEN0307-309)
249 Ly 2-17-15 email between Talonya Adams and Jeff Winkler re: Senate
\U \4\ UU Standing Committee Agenda and leave - personal family matter
\ (AZSEN0495)
250 Arizona State Senate dismissal letter dated 2-20-15 (AZSEN0169)

 

 

 

 

 

 
